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                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 COUNTY OF ROCKLAND, et al.,

                                Plaintiffs,
                    v.
                                                               No. 24 Civ. 2285 (CS)
 TRIBOROUGH BRIDGE AND TUNNEL
 AUTHORITY, et al.,

                                Defendants.



                                  NOTICE OF APPEARANCE


To the Clerk of this Court and all parties of record:

       Please enter my appearance as counsel in this case for Defendants the Metropolitan

Transportation Authority and the Triborough Bridge and Tunnel Authority. I certify that I am

admitted to practice in this Court.

Dated: May 14, 2024
       New York, New York
                                                    /s/ Roberta A. Kaplan
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